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   EXHIBIT G
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 1                                          Exhibit G:
          Microsoft’s Proposed Corresponding Structure for Disputed “Means for [Selectively]
 2
                                        Decoding” Elements
 3
           Microsoft’s Proposed                Intrinsic Evidence Supporting Microsoft’s Proposed
 4         Corresponding Structure             Corresponding Structure11
           For Disputed “Means for
 5         [Selectively] Decoding”
           Elements
 6         (a) a processor, application        ’374 Patent, at 4:58-5:3 (“the decoder decodes the pictures.
           specific integrated circuit         The… decoder can be a processor, application specific integrated
 7         (ASIC), field                       circuit (ASIC), field programmable gate array (FPGA),
           programmable gate array             coder/decoder (CODEC), digital signal processor (DSP), or
 8
           (FPGA), coder/decoder               some other electronic device that is capable of encoding the
 9         (CODEC), or digital signal          stream of pictures…. The term “decoder” will be used to refer
           processor (DSP)                     expansively to all electronic devices that decode digital video
10         performing the algorithm            content comprising a stream of pictures.”).12
           of:
11         (b) in field mode, creating         See, e.g., ’374 Patent, at Fig. 8:
           in memory one or more
12         macroblocks each
           containing one field and
13
           one or more macroblocks
14         each containing the other
           field and processing each
15         such macroblock together
           with the other macroblocks
16         to create in memory at least
           two macroblocks
17         containing lines from both
           fields
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20                                             ’374 Patent, at 3:50-52 (“FIG. 8 shows that a pair of
                                               macroblocks that is to be encoded in field mode is first split into
21                                             one top field 16 by 16 pixel block and one bottom field 16 by 16
                                               pixel block.”)
22
                                               ’374 Patent, at 4:17-34 (“. . . The present invention extends the
23
     11
24     Microsoft identifies additional evidence supporting its identified structure for the disputed means elements in
     The Parties’ Joint Cl. Chart, filed on Jan. 6, 2012, at 74-89.
25   12
       MMI cites the same intrinsic evidence in The Parties’ Joint Cl. Chart, filed on Jan. 6, 2012, at 17-20, as is
     shown here.
                                                                                                       LAW OFFICES
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        Microsoft’s Proposed           Intrinsic Evidence Supporting Microsoft’s Proposed
 1      Corresponding Structure        Corresponding Structure11
        For Disputed “Means for
 2
        [Selectively] Decoding”
 3      Elements
                                       concept of picture level AFF to macroblocks. In AFF coding at a
 4                                     picture level, each picture in a stream of pictures that is to be
                                       encoded is encoded in either frame mode or in field mode,
 5                                     regardless of the frame or field coding mode of other pictures
                                       that are to be coded. . . . Conversely, if a picture is encoded in
 6                                     field mode, the two fields that make up an interlaced frame are
                                       coded separately. . . .”)
 7
                                     ’374 Patent, at 7:26 – 8:65 (“. . . However, if the pair of
 8
                                     macroblocks (700) is to be encoded in field mode, it is first split
 9                                   into one top field 16 by 16 pixel block (800) and one bottom
                                     field 16 by 16 pixel block (801), as shown in FIG. 8. The two
10                                   fields are then coded separately. In FIG. 8, each macroblock in
                                     the pair of macroblocks (700) has N=16 columns of pixels and
11                                   M=16 rows of pixels. Thus, the dimensions of the pair of
                                     macroblocks (700) is 16 by 32 pixels. As shown in FIG. 8, every
12                                   other row of pixels is shaded. The shaded areas represent the
                                     rows of pixels in the top field of the macroblocks and the
13                                   unshaded areas represent the rows of pixels in the bottom field of
14                                   the macroblocks. The top field block (800) and the bottom field
                                     block (801) can now be divided into one of the possible block
15                                   sizes of FIGS. 3a-f. . . . However, if a group of four
                                     macroblocks (902), for example, is to be encoded in field mode,
16                                   it is first split into one top field 32 by 16 pixel block and one
                                     bottom field 32 by 16 pixel block. The two fields are then coded
17                                   separately. The top field block and the bottom field block can
                                     now be divided into macroblocks. Each macroblock is further
18                                   divided into one of the possible block sizes of FIGS. 3a-f.
                                     Because this process is similar to that of FIG. 8, a separate figure
19
                                     is not provided to illustrate this embodiment. . . .”)
20      (c) and in frame mode,       See, e.g., ’374 Patent, at 4:17-34 (“The present invention extends
        creating in memory one or the concept of picture level AFF to macroblocks. In AFF coding
21      more macroblocks each        at a picture level, each picture in a stream of pictures that is to be
        containing lines from both encoded is encoded in either frame mode or in field mode,
22      fields and processing each   regardless of the frame or field coding mode of other pictures
        such macroblock together     that are to be coded. If a picture is encoded in frame mode, the
23      to create in memory at least two fields that make up an interlaced frame are coded jointly. . .
        two macroblocks              .”)
24      containing lines from both
        fields                       ’374 Patent, at 7:26 – 8:65 (“. . . FIG. 7 illustrates an exemplary
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                                     pair of macroblocks (700) that can be used in AFF coding on a

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        Microsoft’s Proposed      Intrinsic Evidence Supporting Microsoft’s Proposed
 1      Corresponding Structure   Corresponding Structure11
        For Disputed “Means for
 2
        [Selectively] Decoding”
 3      Elements
                                  pair of macroblocks according to an embodiment of the present
 4                                invention. If the pair of macroblocks (700) is to be encoded in
                                  frame mode, the pair is coded as two frame-based macroblocks.
 5                                In each macroblock, the two fields in each of the macroblocks
                                  are encoded jointly. Once encoded as frames, the macroblocks
 6                                can be further divided into the smaller blocks of FIGS. 3a-f for
                                  use in the temporal prediction with motion compensation
 7                                algorithm. . . . If the group of macroblocks (902) is to be
                                  encoded in frame mode, the group coded as four frame-based
 8
                                  macroblocks. In each macroblock, the two fields in each of the
 9                                macroblocks are encoded jointly. Once encoded as frames, the
                                  macroblocks can be further divided into the smaller blocks of
10                                FIGS. 3a-f for use in the temporal prediction with motion
                                  compensation algorithm.
11                                . . . .”)

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